Case 1:18-cv-00174-LO-TCB Document 123 Filed 07/02/19 Page 1 of 2 PageID# 1338




"7^-- '7tiZ~]-\^9^jjjMj^ (]JJfisJA/\-j^
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TTtZ-....                        ^^?,r^y'.1v'Ti'?7^^^'?^                               ■jC
